 Case 1:19-cv-00201-RJJ-RSK ECF No. 12 filed 04/10/19 PageID.148 Page 1 of 5



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


WILLIAM SIM SPENCER,
                                                           Case No. 1:19-cv-201
              Plaintiff,
                                                           Hon. Robert J. Jonker
v.

JOSEPH GASPER,

              Defendant.
                                    /

                            ORDER TO STAY PROCEEDINGS

              In his complaint, plaintiff alleged that defendant Joseph Gasper, director of the

Michigan State Police, violated his constitutional rights by enforcing certain requirements of

Michigan’s Sex Offender Registration Act (SORA). Compl. (ECF No. 1). Plaintiff also filed a

motion for an ex parte temporary restraining order and a preliminary injunction (ECF No. 3).

              This is plaintiff’s second lawsuit filed to contest the constitutionality of SORA.

Plaintiff’s first lawsuit, Spencer v. Bill Schuette et al., 1:18-cv-229 (W.D. Mich.), is directed

against Bill Schuette (former Michigan Attorney General), Kriste Kibbey Etue (former director

of the Michigan State Police), Robert Cooney (Grand Traverse County prosecuting attorney),

Kenneth Smith (State Police Enforcement Coordinator for SORA), and Sara Swanson (Benzie

County prosecuting attorney). See Spencer v. Schuette (Amend. Compl. (ECF No. 17). In the first

lawsuit, plaintiff seeks an injunction to “restrain defendants from administratively changing the

registration updating requirements applicable to [p]laintiff,” an order “directing defendants to

discontinue [p]laintiff’s registration under SORA immediately,” and entry of a declaratory


                                               1
 Case 1:19-cv-00201-RJJ-RSK ECF No. 12 filed 04/10/19 PageID.149 Page 2 of 5



judgment “that SORA, as applied to individuals such as Plaintiff who were registered under SORA

prior to enactment of Public Act 17 of 2011, is vague, ambiguous and further provides unfettered

discretion to police and prosecutors to apply SORA to individuals on an arbitrary and ad hoc

basis.” Id. at PageID.65-66. As discussed, infra, this Court has stayed the first lawsuit until the

Michigan Courts address plaintiff’s constitutional challenges to SORA.

               In the present lawsuit, plaintiff seeks to have SORA be declared “unconstitutional

in general or as applied to him because the statute fails to provide for an exception to the Rule of

Finality during future criminal prosecutions, where new penalties are sought based on an

undisturbed court order to register under SORA that is, in fact, tainted by the ineffective assistance

of trial and appellate counsel.” Compl. (ECF No. 1, PageID.1-2). Plaintiff contends that SORA

violates his rights under the Due Process Clause of the Fifth and Fourteenth Amendment and the

Assistance of Counsel Clause of the Sixth Amendment. Id. at PageID.2. Plaintiff also includes a

claim of ineffective assistance of trial and appellate counsel. Id. at PageID.13.

               In his motion for an ex parte temporary restraining order and a preliminary

injunction, plaintiff seeks an order to

               Enjoin Defendant from applying to Mr. Spencer the “Felony Listed
       Offense” provision of Michigan Public Act 85 of 1999, which was deleted by the
       Michigan Legislature on 7/01/2011, until the Court settles the controversy over
       whether the court order requires Mr. Spencer to register under SORA is tainted by
       ineffective assistance of counsel in violation of the Sixth and Fourteenth
       amendments to the federal constitution[.]

Motion for injunction at PageID.111.

               Plaintiff’s claims arise from his arrest “on or about December 23, 2016” when he

was “charged with violating the court-order to register under SORA resulting from the 2001 guilty



                                                  2
 Case 1:19-cv-00201-RJJ-RSK ECF No. 12 filed 04/10/19 PageID.150 Page 3 of 5



plea proceedings.” Id. at PageID.4-5. This is the same conviction from which plaintiff’s first

lawsuit arose. This Court recounted the history of plaintiff’s conviction in that suit as follows:

       Ultimately, in an order entered on March 18, 2018, the Benzie County Circuit Court
       quashed his bindover to stand trial. [Compl.] Id. at PageID.52-56. While plaintiff
       has been litigating this federal action, the parties have been litigating appeals of his
       criminal case in the Michigan Court of Appeals. The appellate court identified
       those appeals as follows:

                       In Docket No. 343367, defendant, William Sim Spencer,
               appeals by right the circuit court's decision on his request to
               discontinue registration under the Sex Offenders Registration Act
               (SORA) in his SORA violation case. In Docket No. 343468, the
               prosecution appeals by leave granted the same order quashing
               defendant's bindover, and defendant cross-appeals, seeking the same
               relief as in Docket No. 343367 and requesting this Court to declare
               SORA unconstitutional.

       People v. Spencer, No. 343367, 2019 WL 286954 at *1 (Mich. App. Jan. 22, 2019).
       In an opinion entered on January 22, 2019, the Michigan Court of Appeals affirmed
       “the circuit court’s decision to quash [Spencer’s] bindover without further relief.”
       Id. In reaching this determination, the appellate court stated:

                       In sum, we conclude that the circuit court properly quashed
               defendant's bindover because the law of the case provides that 1999
               PA 85 governs defendant's SORA registration, but the prosecutor
               charged him with violating 2011 PA 17, and the evidence at the
               bindover was not sufficient to support a finding that defendant
               violated 1999 PA 85.

                       On cross-appeal, defendant argues that the circuit court
               should have determined that he is not required to comply with
               SORA because 2006 PA 402 and 2011 PA 17 have nullified the
               definition of “listed offense” in 1999 PA 85. We reject this
               argument. Because only 1999 PA 85 applies to defendant, later
               changes to SORA do not affect his case.

       Id. at *4. Plaintiff’s criminal case is not concluded, because the parties may still
       seek leave to appeal the case to the Michigan Supreme Court. See MCR 7.305(C).

Spencer v. Schuette (Order to Stay Proceedings) (ECF No. 78, PageID.962-963). The government

has, in fact, filed an application for leave to appeal to the Michigan Supreme Court, where

                                                  3
    Case 1:19-cv-00201-RJJ-RSK ECF No. 12 filed 04/10/19 PageID.151 Page 4 of 5



plaintiff’s state case is now pending. See People v. William Sim Spencer, No. 159254, (Mich.)

(Application for leave to appeal) (March 11, 2019).

                  While plaintiff has raised different constitutional claims in the present case, both

this case and Spencer v. Schuette arose from his December 2016 arrest, and both cases ultimately

seek the same relief, i.e., a declaration that SORA is unconstitutional. Given these similarities,

this case will be stayed for the same reasons as set forth in Spencer v. Schuette:1

         In Younger v. Harris, 401 U.S. 37 (1971), the Supreme Court held that absent
         extraordinary circumstances, federal equity jurisdiction may not be used to enjoin
         pending state prosecutions. Upon review the entire case file, the Court concludes
         that pursuant to Younger, this case should be stayed until the related state court
         proceedings are completed.

                 The Younger abstention doctrine is based on the principle that the states
         have a special interest in enforcing their own laws in their own courts. See Younger,
         401 U.S. at 44. The rule is “designed to permit state courts to try state cases free
         from interference by federal courts, particularly where the party to the federal case
         may fully litigate his claim before the state court.” Zalman v. Armstrong, 802 F.2d
         199, 205 (6th Cir. 1986) (internal quotations omitted). Abstention in favor of state
         court proceedings is proper where there exists: (1) an ongoing state proceeding; (2)
         an important state interest; and (3) an adequate opportunity in the state judicial
         proceedings to raise constitutional challenges. Middlesex County Ethics Committee
         v. Garden State Bar Association, 457 U.S. 423, 432 (1982).

                  The three factors that support Younger abstention are present in this case.
         First, there is an ongoing state judicial proceeding against plaintiff. See Huffman
         v. Pursue, Ltd., 420 U.S. 592, 609 (1975) (a state judicial proceeding is ongoing so
         long as the “losing litigant has not exhausted his state appellate remedies”).
         Second, the state criminal proceedings involve important state interests, in this case
         the application of SORA. Third, the state court proceedings provide an adequate
         opportunity to raise constitutional challenges. Finally, none of the exceptions to
         Younger abstention exist here. [FN 1]

         [FN 1] Younger does not require federal abstention when: (1) “the state proceeding
         is motivated by a desire to harass or is conducted in bad faith,” Huffman, 420 U.S.
         at 611; (2) “the challenged statute is flagrantly and patently violative of express

1
 This Court can raise Younger abstention sua sponte. See Hill v. Snyder, 878 F.3d 193, 206 n. 3 (6th Cir. 2017) (“That
federal courts may raise abstention sua sponte does not alter our analysis of this issue. See Bellotti v. Baird, 428 U.S.
132, 143 n.10, 96 S.Ct. 2857, 49 L.Ed.2d 844 (1976).”).
                                                           4
 Case 1:19-cv-00201-RJJ-RSK ECF No. 12 filed 04/10/19 PageID.152 Page 5 of 5



        constitutional prohibitions,” Moore v. Sims, 442 U.S. 415, 424 (1979) (internal
        quotation marks omitted); or, (3) there is “an extraordinarily pressing need for
        immediate federal equitable relief.” Kugler v. Helfant, 421 U.S. 117, 125 (1975).

Spencer v. Schuette (Order to Stay Proceedings) (ECF No. 78, PageID.963-964). Accordingly,

                IT IS ORDERED that this case is STAYED until the state criminal case of People

v. Spencer is resolved.

                IT IS FURTHER ORDERED that the ex parte motion for a temporary restraining

order and preliminary injunction is DENIED without prejudice. Plaintiff may renew his motion

for injunctive relief after the stay is lifted.

                IT IS FURTHER ORDERED that the Clerk’s Office is directed to

administratively CLOSE this case.

                IT IS FURTHER ORDERED that parties shall jointly provide notice to the Court

at the conclusion of the state criminal proceedings.



Dated: April 10, 2019                                  /s/ Ray Kent
                                                       United States Magistrate Judge




                                                  5
